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l.ED BY ___ D.C.
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSE%S JUL l 5 FH 33 ha

 

wEsTERN DIvIsIoN

EMMA BEST, W/D OF in §~rEMPt~tS
Plaintiff,

V- ease No. 04-3044 M/~ \/

KROGER CO. (THE), JURY DEMANDED

\-¢/\_/\-/\_/\-./\._/\.,./\.,/\_/

Defendants.

 

STIPULATED PROTECTIVE ORDER

 

Subject to the approval of this Court, the parties hereby stipulate to the following
Protective Order:

IT IS HEREBY ORDERED THAT:

1. Medical, psychological and financial information relating to Plaintiff shall be
considered “Confidential lnforrnation.” This Order shall govern all Contidential Information
relating to Plaintiff Which is obtained by Defendant during the course of this litigation, including,
but not limited to, medical, psychological and financial information disclosed pursuant to
mandatory disclosures, interrogatory responses, responses to requests for admission, documents
produced in response to requests for production or voluntary production of documents, deposi-
tion testimony (including copies, excerpts, and summaries) and all other material and information
produced in the course of pretrial discovery and other proceedings in this action and all appeals
therefrom, and any motion, briefs, or other filings incorporating such informationl

2. This Order shall apply both to the parties to this action and to any third party

This document entered on the docket shea ':tc¢:>€>m france
with Rule ou anotor 79{3) FRCP on __2_" /_2___.$

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Who provides or is provided access to discovery materials under the terms of this Order.

3. Except with prior written consent of the producing party or upon prior order
of this Court, a receiving party shall not use Confidential lnformation obtained during discovery
for any purpose (including without limitation, any business, commercial or personal purpose)
other than for the purposes of preparing for and conducting the litigation of this action and any
appellate proceedings in this action. Disclosure of Confidential Inforrnation shall be limited to
the prosecution, defense, and/or appeal of this action.

4. All Confidential Information shall be clearly and prominently marked by placing
on every single-page document, on the initial page or cover of a multi-page document (including
deposition transcripts), and in prominent location on the exterior of any tangible obj ect, one of

the following designations (or a designation containing the same information but in a different

format):
i. “CONFIDENTIAL” or
ii. “CONFIDENTIAL INFORMATION _ THIS DOCUMENT IS SUBJECT
TO A PROTECTIVE ORDER”.

In lieu of marking the original of documents, the party may mark the copies that are
produced or exchanged

5. When any such Confidential Information is embodied in any discovery
material which is ultimately filed with this Court, it shall be designated as “contidential”, and the
party filing the Confldential Information shall request that it be maintained under seal of the

Clerk of the United States District Court for the Western District of Tennessee.

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6. Except With the prior written consent of the designating party or as otherwise
expressly permitted by this Order, the receiving party may disclose Confidential Inf`orrnation of
the designating party only to the following persons:

A. The Court and Court personnel;

B. Attorneys for each party;

C. Experts retained by the receiving party for consultation or for testimony,
and designated employees of the receiving party who have been identified
to the producing party in advance of the disclosure and whose duties and
responsibilities have been described, only after the procedures Set forth in
Paragraph 7 have been completed;

D. Any other employee of the receiving party who has a need to know the

information for purpose of this action, only after the procedures set forth in
Paragraph 7 have been completed;

E. If objection is made, the person in question shall not be given access to
such Confidential Information until resolution of the objection by the
parties or the Court.

7. Prior to disclosure of any Confidential Information to any expert witness or

employee as described in Paragraphs 6.C and 6.D above, counsel for the receiving party shall
first provide such person with a copy of this Order, and shall require such person to execute the
appropriate acknowledgment attached to this Order as Exhibit A.

8. This Order shall bind all parties to this action and all persons signing Exhibit
A until all discovery materials containing Confidentiai Inforrnation have been returned to the
producing party or destroyed Within one hundred twenty (120) days after the final termination
of this action, including all appeals, counsel for the parties that received discovery materials
containing Confidential Information shall certify in writing to each party that produced such

items that all copies and abstracts thereof have been returned or destroyed.

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9. All discovery materials containing another party’s Confidential Inforrnation
shall not be used in any other lawsuit unless otherwise ordered by the Court.

10. Nothing contained in this Order shall be construed as preventing counsel
from advising their respective clients as to counsel’s opinions and conclusions so long as
information designated as Confidential Information is not disclosed to persons not properly
authorized to receive such information under this Order.

11. This Order may be modified in whole or in part at any time upon motion by

 

 

 

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tiNITED STATES MAGISTRATE JUDGE
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Attorney for Plaintiff

 
 
    
 

 
 
 

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A ey for Defendant
The Kroger Company

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EXHIBIT A

ACKNOWLEDGMENT OF RECEIPT
OF PROTECTIVE ORDER

I, the undersigned, do hereby verify that lam in receipt of the Stipulated Protective Order
and that l agree to comply fully with all of the provisions set forth in the Stipulated Protective
Order.

 

Signature

 

Printed Name

 

Title

 

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-03044 was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

